Case: 2:17-mc-00023-ALM-KAJ Doc #: 1 Filed: 05/01/17 Page: 1 of 16 PAGEID #: 1

   
  

     

eee a ; ca a anal am esa ed a aa rt el lp a aE als as aes a a el a gn cal eS a
Ee : #
: mina eee ;
‘ PICHARD i NAGE 5
i ERS OF CL URI =:
5 7

* Notice by: &
: Kevin Brian Gunnell El ZULT MAY ~{ PM I: 57 ‘
+ Cfo 2928 Sunbury Court North U.S. DISTRICT COURT ;
, Columbus, Ohio state, near [43219] SCUTHERN DIST. GHIO ;
4 Zip exempt/ Nonresident/ Non-Domestic/ Republic: "AST. DIV. COLUMBUS :
s Without the U.S. by order of lex domicilii . a
; (Al Moroc/ Amexern/ Washitaw Territory & Empire) 2 8 I ” me 7
s ae g

John Kasich, Governor of Ohio or the holder of the seat, :
Riffe Center, 30" Floor 17South High Street, *
Columbus, OH 43215-3555; Via Certified Mail ;

No.: 7016 0346 0000 2998 8278, with return receipt «

judicial .V otice and frociamation of NV ationality

Lo S. ean L. aaw A. am M. oust Wjcorish Americans - , Yorthwest —Amexem

i

BAe REE ae OS NE a had

Fo All Elected United States Republic Officials and Public Servants of Federal, State, City, and :
: Municipal Governments, Personnel and Corporate Entities: Concerning the Constitution and all Statuto ;
and Civil Law Codes of the Land, etc., Know AH Men by These Presents: a

a
2

: ‘Upon my inherited Nobility, and upon my Private Aboriginal / Indigenous, Proper Person Status and !
; Commercial Liability, I, Kevin Brian Gunnell El , have chosen this new name as my connection to my #
¢ Aboriginal Indigenous Muurish/Moorish Ancestors: being duly Affirmed under Consanguine Unity; pledge my 3
® National, Political, and Spiritual Allegiance to my Moabite / Moorish Nation - being the archaic Aboriginals / z
2 Indigenes of Amexem (the Americas); standing squarely affirmed upon my Oath to the ‘Five Points of Light’ - :
2 Love, Truth, Peacc, Freedom, and Justice; do Squarely Affirm to tell the truth, the whole truth, and nothing but the ;
* truth; and having knowledge and firmly - established belief upon the historical, lawful, and adjudicated Facts :
; contained herein. Being competent (In My Own Proper Person) to Attest to this Affidavit upon which I place my ;
* Signature; Whereas, I State, Proclaim, and Declare the following to be true, correct, certain, complete, not *
» misleading, supreme, and not intended to be presented for any misrepresented, ‘colored’ or improper use or =
: purpose, to wit: i
3

EERIE iT om ea aaa

é
2

oN.

® Birthright, Freehold, Primogeniture and Inheritance; being Aboriginal and Indigenous to the Land /s (Amexem / i
; Americas) Territorium of my Ancient Moabite / Moorish Fore-Mothers and Fore-Fathers - to wit: :
3

She Al Moroccan (American) Continents - are the Lands of the Moors; being North America, South America; ;
Central America; including the adjoining Islands (Americana / Ameru / Al Moroc). I have, acknowledge, claim !
£ and possess, by said Inheritance and Primogeniture, the Freehold Status thereto; all Unalienable and Substantive f
Rights, to Be, to Enjoy, and to Act, distinct in my Aboriginal Customs and Culture; and determining my own 3
political, social, and economic stams of the State. Tuming my heart and mind back to my Ancient Mothers and !

ee ee ae a

aa a

1

ee a PG Wa pa na a As SET SUS FON APR, tae POR a a ae ea ae OR FORT SME SIME am pe ars ee a peak Sa a a PEL PPE RE AIR oe ye ae ce

FU Aa ge ag MT aa

x
%
s
£
4
a

B
Case: 2:17-mc-00023-ALM-KAJ Doc #: 1 Filed: 05/01/17 Page: 2 of 16 PAGEID #: 2

a ea a a Oa a a a a nd mR nal mS ae taal a i a a ia Seal Eo a el saa ae a Sea as 2a a a weal eg

S00 Tas hee!
SE: aT”

; ? Fathers - Moors / Muurs, by Divine and Natural Right. Being Moorish American, we have and possess the!
F ® internationally recognized Rights to determine our own ‘Status of the State’ absent of threat, coercion, ort
acquiescence to a Color-of-Law, a Color-of-Office, nor to be subjected to an imposed Color-of-Authority. Further :
i £ note, I hereby retum the colonial slave status of the chattel branded, 14% Amendment U.S. Citizen, Person { ;
: Corporation as found in 26 USC 7701 et seg, known as KEVIN BRIAN GUNNELL, KEVIN B. GUNNELL, #

é KEVIN GUNNELL and all derivatives thereof, as it was prepared by former colonial masters for their earthly ; ;
, salvation. I, as Kevin Brian Gunnell El, hereby declare that all physical and spiritual equity, property, ,
i * conamercial rights to property and all other assets and entitlements or cargo of the commercial vessel known as :
: KEVIN BRIAN GUNNELL, KEVIN B. GUNNELL, KEVIN GUNNELL are now my property; as E Am the | A
i only authorized agent of the commercial vessel with full control, and hold a superior interest with rights of ; i
i claim under the Treaty of Peace and Friendship Between the United States and Morocco of -Seventeen Eighty- |
: Seven (1787) - superseded by the Treaty of Eighteen Thirty-Six (1836). Please see UCC 7-103 and 9-311 for the §
, ; Supremacy of Treaties in Commerce.

 

SE,

ace ff “pet

Moors / Moorish Gmericans / Muurs Have, Proctaim and Possess the Unalienable, Substantive Rights and { ‘
£ Birthright - Inheritance to our Al Moroccan Names and Nationality by Nature’s Laws, Divine Law, * :
Primogeniture, and by the recognized Laws of the Nations of the Earth (International). Being the truce, Ancient, 4
4 , Aboriginal / Indigenes of the Land (America) North, being the heart-land of the Moroccan Empire. Moors iy ,
? Muurs are the ‘De jure’ Freeholders by Birthright, Inheritance and Primogeniture Status; and have, Claim and ‘
s Possess the Secured Rights to Travel upon the Public Roadways, Byways and Highways of our Continental »
; United States (the Organic Land) absent of foreign ‘colored’ or imposed excise taxation constructs invented, by | :

* the racketeering States’ Legislators, to abridge and steal Rights belonging to the Natural Peoples. These {
* Substantive Rights are supported by, and asserted by, Royal Law; Moorish Law; Moslem / Muslim Law; The ‘
Law of the Great Peace (Algonquian/Iroquois Confederated Republic as originated by Indigenous Muurs/Moors); i
i i The Laws of Nature; Divine Law; Nature’s God; The Laws of Nations; The Free Moorish Great Seal Zodiac ;,
; Constitution; and Affirmed by Articles TV and VI of the Constitution Covenant of 1774 - 1781 A.D. = 1201 M.
f C., as lawfully adopted for The United States Republic, establishing its Republican Form of Government. Said |
; Constitution established the Peoples’ ‘Supreme Law of the Land’ to secure the Rights of the People, and to keep ‘
* Government bound and in check by Official Oath, and by Official! Bond. Down from the Ancient Ones, our *
# Primogenitors, comes the Supreme Law of the Land!

a ee

ea ee a

Egypt, the Capital Empire of the Dominion of Africa. The Inhabitants of Africa are the Descendants of the | ;
i : Ancient Canaanites from the Land of Canaan. The Moabites from the Land of Moab who reccived permission {
' from the Pharaohs of Egypt to settle and inhabit North-West Africa; they were the founders and are the true ,
: possessors of the present Moroccan Empire. With their Canaanite, Hittite and Amorite brethren who sojoumed ; 4
§ from the Land of Canaan secking new homes. Their Dominion and Inhabitation extended from North-East and ; '
* South-West Africa, across the great Atlantis even unto the present North, South and Central America and also £
Mexico and the Atlantis Islands; before the great earthquake, which caused the great Adantic Ocean.

Te ET

She ‘Great Seal Pyramid’ is the ‘National Emblem and Insignia’ of The Moorish Nation / Empire of North t
America (geographical location). The Great Pyramid is also the archaic symbol for Civilization on the planet + ;
y Earth. The honorable Moors’ acknowledgement of our ‘Great Seal’ indicates those Heirs who own up to, who | ,
* support, and who proclaim, our ‘Free National Government’. Moors who are ‘Active’ and NOT ‘Passive’ in the 5
» Social, Civilization, Culture and Custom matters, involving Law, Order and Governmental Principles, are hereby # ‘
¥ entreated to support this Affirmation. Moors / Muurs who strive toward this end, with honor, are entrusted by 5 4
® Noble Drew Ali, to help in the great humanitarian work of uplifting ourselves, our fellow-man, and humanity al f

ee ee hl ae

wT

2

PRP EPL PPE ES EO ll SP SP ENS PL SS AE SH IE OE EF, ES PS UE RE Se ERE IE SE A IS POP SI A EE

JET aa waa Pan al
Case: 2:17-mc-00023-ALM-KAJ Doc #: 1 Filed: 05/01/17 Page: 3 of 16 PAGEID #: 3

e ee ee ee ee ee a ee A ee i ee ee ee ee ialniiaied.

E large. We seek, at all times, to be conscious of the works, instructions, and acts necessary to teach, preserve and
® defend the Birthrights of All Moorish Americans (Al Moroccans), etc.

eae Se ee nar ae?

Re eR

She Noble Moors / Muurs (Heirs Apparent) are the Natural Members / Citizens of the Ancient Ai Moroccan ¥ k
: Empire (North America) and are duty-bound to recognize and to support our ‘Great Seal’ Sovereign Moorish ; ‘
* Government and Nation of the Natural People, and command the enforcement of our Constitution. Thus, such
organized communication Orders are referred to as “The Great Seal National Association of Moorish Affairs”. «
The Free Moorish Nation - inclusive of all the Aboriginal / Indigene Tribes and Provinces of the Natural People, 5
? etc., are the rightful bearers of the Names and Titles, Ali, El, Bey, Dey, and Al. The Free Moors / Muurs, by {
Frechold Inheritance, retain all Substantive Rights and Immunities; enjoy the exercising of Substantive Rights, # s
: and operate upon consummated, Right-Law, Isonomi - Principles; having vested Constitution - secured Rights ; i
: and Immunities from TAXATION, and from Criminal and Civil Jurisdiction by, and of, the Union States Rights }

* Republic (U.S.A.), pursuant to, but not limited to, the United States Republic Supreme Court, and the ‘Acts of} ;
4 State’ to wit:

ee TT

2 TNE,

“Every Sovereign State (People) is bound to respect the independence of every other Sovereign State ;
* (People) and the courts of one country (People) will not sit in judgment on the acts of the government of | 4
, another, done within (the same or) its own territory...

She present Union States Municipal and Civil Laws and Codes of the Land are an ‘incorporated unit of self #
; government’ established by the political powers of the ‘General Assembly’ of each State of the Union, and ’ :
# initiated at Philadelphia, Pennsylvania, North America, in the year Eighteen fifty-four (1854). It governs ‘ONLY’ +
: the rights and conduct of “WHITE PEOPLE”, Christians and Jews, of the Eighteen sixty-three (1863) Union ; ;
5 ; States Rights Republic, under the Magna Charta (Charter), the Knights of Columbus Code, and the Ku Klux Klan | :
Oath. Forever said Union States Rights Republic denies citizenship in the United States Republic (U.S.A.) to the | ‘
; descendants of the Moorish Nation in the Western Hemisphere, erroneously referred to, and ‘branded’ and § ‘i
f mislabeled as, Negroes, Blacks, Coloreds, and African Americans, ctc., etc. In addition, the Supreme Court of the 5
: United States Gin the landmark case) of “Dred Scott v. Sandford” 60 US (19 Howard) 393 (1857) held that c
; Negroes—whether held to slavery or free— were not included and were not intended to be included in the ¢
‘category’ of ‘citizen’ (subjects) of the Union States Rights Republic. Resultantly, the True Indigene Nobles of ; 5
the Al Moroccan Empire (Free Moors), bearers of the Names / Titles, Ali, El, Bey, Dey and AJ, are excluded from '
i ; the Union States Rights Republic (U.S.A.) jurisdiction. The True Nobles of the Al Moroccan Empire are
: ’ Sovereign, Private, and Self-Governed, by ‘Right-Law’ Principles and customs; and ONLY Obligated to the ‘Free }
Moorish Zodiac Constitution’ - Circle 7 - archaically established by our Ancient Fore-Motbers and Fore-Fathers. #
# Such extended allegiance and ‘Obligation’ includes “The Great Seal’ and the High Principles and Mootr-al : :
£ Standards, embodied in the Moorish National Flag (Standard) - Love, Truth, Peace, Freedom, and Justice. The ; é
True Al Moroccan Noble Indigenes of the Land maintain a Constitutional and lawful, NON-OBLIGATORY tax |
‘Status’ and position, relative to ‘FOREIGN ENTITY TAXATION’ (Indigenes Not Taxed) and maintain a NON- §
; OBLIGATORY respect for the Union States Rights Republic (U.S.A.), its members, its laws; its ordinances; its ; :
codes; it customs and its traditions, pursuant to: The Free Moorish American Zodiac Constitution - Articles JV }
and VI; The Treaty of Camp Holmes made with the Washitaw Muurs in 1835 (changed to Witchetaw in the + :
; Treaty; as Arkansas is a part of Washitaw Proper, which is a part of the Amexem/Al Moroccan Empire); The ¢ :
, ; Treaty of Peace and Friendship Between the United States and Morocco -Seventeen Eighty-Seven (1787) -
superseded by the Treaty of Eighteen Thirty-Six (1836); Resolution 75: Journals of The House of # ;
Representatives; United States - April 17, 1933 A. D. - Moorish American Society of Philadelphia and the Use of ¢ &
; Their Names; The United Nations “Declaration of the Rights of the Child” General Assembly Resolution 1386 ; ‘
; , (XIV), 14 U.N. GAOR Supp. (No, 16) at 19, U.N. Doc. A/4354 (1959); The United Nations “Universal ; :

RO Sa a MY SS a
SRT sa

Set eet
Si, A

s
; 3
iz

CA PST a OM SI IPF TSP SP a ER A Ba ST GFE a SA EU PE PE SE UME ES, FED, PG PE ER PES EB ERE
Case: 2:17-mc-00023-ALM-KAJ Doc #: 1 Filed: 05/01/17 Page: 4 of 16 PAGEID #: 4

Ta aps a a ee al eta ea tl a Sa

“%,
5
x
é
4
:
,
;
\
,
x
q
a
7
K
4
i
;
‘
x

Tt a ee
AT

é Declarations on Human Rights” Article XV, General Assembly Resolution 217 A (I) of 10, December 1948 * '
? A.D.; “Executive Order 13107’—United States Republic, North America -The Implementation of Human | ‘
, Rights Treaties; The National Constitution for the Continental United States, Article III, Section 2; Amendment V i i
- Liberty Clause; Amendment [X—Reservation of the Rights of the People; The United States Department of ; i
# Justice Moorish Credentials; Free Moorish Zodiac Constitution, Truth A-1 Classified; The United States
' Copyright Certificate Number AA222141 Clock of Destiny; The Moorish Nationality and Identification Card; ;
; Moorish Holy Temple of Science / Moorish Science Temple Identification Card, etc.

a ay eT

ee
CAT eT

Furthermore, I Assert My full Birthrights - Sovereignty and Substantive Rights and claim to Hereditaments -

* Being a Sundry Free Moor / Muur and a (Natural Being) pursuant to: Moabite / Moorish Pedigree; The Free §
‘ 1 Moorish Zodiac Constitution; The Great Seal of the Moorish Nation (Ab Antiquo); The Treaty of Peace and 4 x
: Friendship - 1787 / 1836; The Sundry Free Moors Act of 1790; The 1781 Organic United States Constitution; The *

* Moorish Federal Financiers Act (Union States Army: 1861 -1863); The 1854 Roman Catholic Magna Charta; the :
Knights of Columbus Code; The Ku Klux Klan Oath; The United Nations Charter, Article 53(c); The Rights of 3 a
: Indigenous People: Part I, Articles 1, 2, 3, 4, 5, Part Il, Article 6; The United States Supreme Court - ‘Acts of §

; State’; The foreign Sovereign Immunities Act 28 USC 1601; et Sequa., The Convention on International Road
5 Traffic -Day 19, September 1949, The World Court Decision, The Hague, Netherlands - Day 21, January 1958 ;
F , A.D = 1378 M.-C. In reference to the Rights of the Natural People and Substantive Rights, etc., the following are , :
® pertinent Supreme Court Decisions, (Stare Decisis) to wit:

Ta?

1. Fhe Right to Travel; The Right to Mode of Conveyance; The Right to Locomotion are all Absolute Rights,
4 and the Police can not make void the exercise of Rights. State v. Armstead, 60 s. 778, 779, and 781:

AL RL Le,

2. The use of the highways for the purpose of travel and transportation is not a mere privilege, but a common ,
# and Fundamental Right of which the public and Natural Beings cannot be deprived. Chicago Motor Coach v. ? ;
® Chicago 337 Illinois 200, 169 NE 22, ALR, Ligare v. Chicago 139 ILL. 46, 28 HE 934, Boone v. Clark 214 § r
¢ SW 607, 25 AM jur (ist), Highways, sec. 163:

3. Fhe Right to Park or Travel is part of the Liberty of which the Natural Person, citizen cannot be deprived
* without “duc process of law” under the Sth Amendment of the United States Constitution. Kent vy. Dulles 357 US §
§ 116, 125:

TiS ae age ee a a

aU RAE

4, She Right of a citizen to Travel upon the public highways and to transport one’s property thereon, either }
by carriage or automobile, is not a mere privilege, which a City may prohibit or permit at will, but a common
; Right, which he / she has under the Right to Life, Liberty, and the Pursuit of Happiness. Thompson y. Smith 154 ;
¢ SE 579: ;

5. State Police Power extends only to immediate threats to public safety, health, welfare, etc., Michigan ve & :
» Duke 266 US, 476 Led. At 449: which driving and speeding are not. California v. Farley Ced. Rpt. 89, 205 id
CA3rd 1032 (1971): ‘

6. Fhe state is prohibited from violating Substantive Rights. Owens v. City, 445 US 662 (1980); and it can : ;
® not do by one power (eg. Police Power) that which is, for example, prohibited expressly to any other such power i
‘ (eg. Taxation / Eminent Domain) as a matter of Law. US and UT v. Daniels, 22 p 159, nor indirectly that which { '
is prohibited to it directly. Fairbanks v. US 181, US 283, 294, 300: ‘

7. SJraveling in an automobile on the public roads was not a threat to the public safety or health and ;
* constituted no hazard to the public, and such a traveler owed no other duty to the public (eg. the State); he / she § i

PST SRE a a ae RE eT A
Ya

4

CAPT EYAL YAS EF TM I al GE Pe gs "A IP AME a a SI” JS 5a, FE I FAI TE PR PO, GA, GPA Fed POPS 3 eta ws

Gaee eeaS pas RN Nae eae la
EI
Case: 2:17-mc-00023-ALM-KAJ Doc #: 1 Filed: 05/01/17 Page: 5 of 16 PAGEID #: 5

eeere etal eed ae eae i cl ae la a a ee a ee Nite areal ae ada ala ed a ea aE tea ad a se ee a ee ee ee ee eet eel ae ae ag

“eae Ta
RE SC

we ise

and his / her auto, having equal right to and on the roadways / highways as horses and wagons, etc.; this same :
¥ right is still Substantive Rule, in that speeding, running stop signs, traveling without license plates, or registration, :
# are not threats to the public safety, and thus, are not arrestable offenses. Christy v. Elliot, 216 I 131, 74 HE é
fe 1035, LRA NS 1905—1910: California v, Farley 98 CED Rpt. 89, 20 CA 3d 1032 (1971). ;

om

ea

8. Under the United States Republic’s Constitutional system of Government and upon the individuality and |

* intelligence of the citizen, the State does not claim to control one’s conduct to others, leaving one the sole judge :
5 as to all that affects oneself. Mugler v. Kansas 1213 US 623, 65960:

9. Where Ri ghts secured by the Constitution are involved, there can be no rule - making or legislation, which
z would abrogate them. Miranda v. Arizona 384 US 436, 125:

10. She claim and exercise of Constitutional Rights cannot be converted into a crime. Miller v. Kansas 230
* F 2nd 486, 489:

11. For a crime to exist, there must be an injured party (Corpus Delicti). There can be no sanction or penalty »
imposed on one because of this Constitutional Right. Sherer v. Cullen 481 F. 945:

12. Je any Tribunal (court) finds absence of proof of jurisdiction over a person and subject matter, the case #
must be dismissed. Louisville v. Motley 2111 US 149, 29S. CT 42. “The Accuser Bears the Burden of Proof 4
Beyond a Reasonable Doubt”.

13. “Lack of Federal Jurisdiction can not be waived or overcome by agreement of parties”. Griffin vy.
Matthews, 310 F Supra 341, 342 (1969): and “Want of Jurisdiction may not be cured by consent of parties”.
Industrial Addition Association v. C.LR., 323 US 310, 313.

‘Whereas, In light of the foregoing Jurisprudence ‘Stare Decisis’ Supreme Court Decisions, Facts, and Law; #
,; and counter to the negative and ‘colorable’ social conditions instituted by State Persons of the Union States 4
¥ Society, there exists a blatant ‘WANT OF JURISDICTION’ on the part of the Union States Rights Republic «
: (U.S.A,), its agents, personnel, contractors, and assigns. Axioms are legally in force under National and ¢
; International Law attending these issues. And this Affiant (Natural Person - In Propria Persona) does not waive é
' any rights; does not transfer power of attorney; and does not willingly consent to any public trial or hearing in x
s any ‘colorable’ tribunal venue or non-Article III, unconstitutional jurisdiction. The Official Oaths, the :
? Obligations, and the Fiduciary duties of all accusers and bound ‘claimants’ to National Law and Order; {
‘ Civilization Principles fixed in Constitution Law, still stands! Definition and Truth still Rules. NON- +

# COMPLIANCE is a Federal and International Law offence.

he.

cl
RA A

a
a.

RAC pee” Fa a
Oe Me

Te

Nal ae a
oa

EOL RR

ae eS

Ah SR EL eT a,

“Pa aR
.

i

ie
(OC ae

i

Whereas, there is no question that a ‘Bench Appearance Summons’, Detention, Arrest and Ticket or Citation i
issued by a Police Officer or others for traveling with no driver’s license, foreign driver’s license, not having :
current registration, or mandatory insurance, etc., which carries a fine or jail time, is a penalty or sanction and is :
: indeed “converting a right into a crime”: thus violating Substantive Rights. It is reasonable to assume that these f

Supreme Court judicial decisions are straight and to the point, that there is no lawful method for government to /

‘ put restrictions or limitations on Rights belonging to the People.

Tae Ee ET a i no

Le ae

eer aw

; That the Organic United States Republic Constitution (derived from Ancient Moabite / Moorish Law)
; remains “The Supreme Law of the Land’. And all Treaties made, or which shall be made, under the Authority of

28 ec ee ec eee
ww

CAPRA ACHE, 2 sa = AE AP Dea a tl NYSP MOE IE A I CM SIP ES A POO A I MPO GS ES a 2 9 lI AT a a ad
Case: 2:17-mc-00023-ALM-KAJ Doc #: 1 Filed: 05/01/17 Page: 6 of 16 PAGEID #: 6

Fee Sane ae a a a a a ta at Bera ae Tec ae a ae eta ae oe a eo ae a ee ea lc es a el ee al al Ct a ea la ee wee a a
if ?

£ (1803). Any Municipal Officer, Person, Personnel, Employee or Contractor who violate the Rights of the People
F or Citizens are subject to suit in their personal and / or official capacity to wit:

EE eT
Ae A Lob ee Le

If fwo or more persons conspire to injure, oppress, threaten, or intimidate any person in any State, Territory, +

S
E
=e
:
E
=
pam
fae
id
=
i
a
e
E
g
e
x
®
2.
E
3

.
RR NOM eo eT

If two or more persons %o in disguise on the highway, or on the Premises of another, with the intent to 2
prevent or hinder his/her free exercise or enjoyment of any right or privilege so secured -

ee a

5, hey shall be fined under this title or imprisoned not more than ten years, or both; and if death results from a
, the acts committed in violation of this section, or if such acts include kidnapping or an attempt to Kidnap,
£ aggravated sexual abuse or an attempt to commit aggravated sexual abuse, or an attempt to kill, they shall be *
Jined under this title or imprisoned for any term of years or for life, or both, or may be sentenced to death.

Fitle 18, Part 1, Chapter 13 $242 of United States Codes of Law:

Whoever, under ‘color’ of any law, Statute, ordinance, regulation, or custom, willfully subjects any person in 4
s any State, Territory, Commonwealth, Possession, or District to the deprivation of any rights, Privileges, or i
s immunities secured or protected by the Constitution or Laws of the United States, or to different punishments, k

f pains, or penalties, on account of such person being an alien, or by reason of his/her color, or race, that are *

RSE RE a

RN ee

ae ay

é
5 Therefore, in preservation of ‘The Rights of Indigenous Peoples’ and the Preservation of the Rights of the :
5 People, in accord and defence of the Constitution for the United States Republic of North America and its :
, Republican Form of Government - being the ‘Supreme Law of the Land’; and primal to the contractual liabilities, *
# Oath - bound Obligations, and Fiduciary Duties of the Officers of the Courts - Federal, State, City, and Municipal, a
i etc., I hereby, Demand the enforcement of the De jure Laws of the United States, and all Treaties made under the i
¢ Authority of The United States, in accord with Article VI of the Constitution; The Bill of Rights; The Declaration :
¥ of the Rights of the Child: The Rights of Indigenous Peoples; The Universal Declaration of Human Rights; The 4
i United Nations Charter, Article 33(c); The United States Supreme Court - ‘Acts of State’; The Foreign Sovereign :
£ Immunities Act 28 USC 1601; et Sequa., The Convention on ‘International Road Traffic’—Day 19, September 7
; 1949, The World Court Decisions, The Hague, Netherlands, Day 21, January 1958 A.D = 1378 M.C.; and #
a “Executive Order 13107” - United States Republic, North America: The Implementation of Human Rights ;
’ Treaties; The National Constitution for the Continental United States, Article I, Section 2; Amendment V - i
: Liberty Clause; Amendment IX, etc., etc. I hereby, Demand a Dismissal of any and ail unconstitutional sanctions, i
x Claims, or other warrants or charges made or issued, which are devoid of true identity personages; a denial of é
; ‘Due Process’ of a ‘Trial’ by a Jury of my own National Peers: or absent of a verified and lawful Indictment, !
f sanctioned by an assembled Grand Jury; and that I be availed all lawful Constitutional - secured safeguards, 4
established by the Supreme Law: with documented proper Jurisdiction and Venue confirmed and in place. ;

See

6

CAL at Se, OE a a pa a ME aS aA PE, OSTA, ME GPE {2 POA, NT Si 5a LE Ta Pe ISI A NOE a SOWA a sa, A EIS A OR ET pb

sea a a a

®
Case: 2:17-mc-00023-ALM-KAJ Doc #: 1 Filed: 05/01/17 Page: 7 of 16 PAGEID #: 7

a a ae a nd a ae ad a a a lal A aE Ae eA a a RO aw Sa a

2
z
s
¥
«
zg

‘Wherefore all parties of interest are Authorized by this Writ, pursuant to National and International Law, to i
: honor all Substantive Rights and Constitutional Immunities reserved for, and to, this Aboriginal / Indigenous Free :
5 and Sovereign Moor / Muur*. Ali Officials are to enlist all available and appropriate measures to ensure, and ¢
assure, that all My Substantive Rights and Constitutionally - secured Rights and Immunities are not violated, not :
breached, nor abridged. The Sovereign, Natural Being, named herein, is not to be Arrested nor held for Detention ;
; under any ‘colorable’ circumstances! You are to notify the active Ministers of the Aboriginal / Indigenous ; Z
: Moorish Nationals of the Territory (Organic Land). The Natural Person named herein is NON-OBLIGATORY * A
; and thus Exempt from Customs, Tariffs, Taxation, ‘Owner in Fee’ permit-deception Constructs, and from any : s
: other hindrance or restriction of His or Her Freedoms, Allodial Properties, Compensations, Rights of Travel, or :
: * Freedom of Movement on, in, or within, any member or non-member States of the United States Union, etc. The # :
, Moor / Muur (bearer of this Indigenous Peoples’ Document) is to be treated with all due Respect and ‘Due A
; Process’ Rights under the Law. All available and appropriate measures are to be taken to prevent injustice, harm,
; false arrest, trumped —up charges, or attack on the Natural Being’s Person, Property, Personalty, Conveyances, {
Freedoms, and / or Dignity.

a Ta DY

AS eR

“ye Naa a

Explicit Reservation and use of ‘All Rights Reserved Without Prejudice’ U.C.C. 1-- 207 / 308, U.C.C. 1-103, :
is Noted To All Federal, State, City, and Municipal Peace Officers; in harmony with State’s Statutes, and +
‘ indicates the Reservation of My Rights. Whereby I may Reserve My Substantive Rights and Constitutional - ,
i secured Rights and Immunities to ‘NOT’ be Compelled to perform under any Contracts or Agreements that I have ;
not entered into knowingly, voluntarily, willingly, or unintentionally. I do not accept any actual or implied * ,
‘Liabilities’ associated with any ‘COMPELLED - BENEFITS’ of any ‘unrevealed’ or deceptively-imposed 4 ‘
{ commercial contracts. I, furthermore, do not sanction any ‘unconstitutional’ rules or policies, nor acts of ; a
; Misprision committed by any U.S. Government or State Officials, at any level, claimed by any of them, in the ‘
name of the United States Republic, nor do I assent to any implied colorable policies made by alleged 4 a“

s Tepresentatives, as being sanctioned by the People and Citizens. Consider any pamedyassumed constructs ;
; alleged to be related to me as being misrepresentations and thusly ‘Cured’ forthwith. Let it be known..

aE

ne

a A ET

Taw! ae ip a)

Represent means to ‘Depict’ to ‘Portray’, to ‘Symbolize’ and to ‘Stand for’. Let it be known that the Union |
; States Society “Bar Association’ Lawyers, Esquires, and Attomeys of European Colonial descent, and foreign : :
; corporation, cannot depict, portray or symbolize a Free Moor; as they are not of the same Nation Jurisdiction, {
: Customs, or National Peers; and cannot sit in judgment of any Free Moor (Acts of State). Europeans are not i
é Indigenes to the Land (Americas) - Moors are Aboriginal! Union States Lawyers and Attorneys operate in Demo - 3
; political format, which is contrary to Article IV, Section 4 of the Constitution for the United States. Moors ;
: # operate in a Republican Form of Government, conjoined with Isonomi Principles - being in harmony with the ,
; Constitution. Moors respect Constitution Principles. The unconstitutional Tribunals operating under the Union i
' , States Society conflicts with, and is repugnant to, “Due Process” under Constitution Principles, and functions ; i
¢ primarily in ‘colorable’ procedures. Therefore, no ‘Fair’, ‘Just’ trial, or remedy is availed to the Natural Peoples § f
tof the Land, through such ‘colorable’ processes! These violating acts constitute a ‘Conflict of Interest’, a
‘Conflict of Law’ and clearly establishes the ‘Federal Questions’ of ‘Diversity of Citizenship’; a Conflict of ; 3
¢ Identity; and of Nationality etc. Thus, a clear ‘Averment of Jurisdiction’ is also hereby proclaimed and advanced. *
# Only Moors can ‘Present’ and ‘Depict’ themselves as being Moors / Al Moroccans, and Aboriginal /Indigenes of #

i the Land! Thus, only Moors can ‘Present’ ‘Self’!

Wea Sa a

RC Te

J, Kevin Brian Gunnell El, A real, live flesh and blood, breathing, non-fictional, and Natural Being, born *

of a natural Mother, do solemnly, sincerely, and squarely Affirm that the foregoing facts contained in this #
! Constructive and Actual Judicial Notice and Proclamation, by Affirmed Affidavit, are true, to the best of my }

7

AOL SOA ROU FC, GI YE PO, 2A OS GI GA ZA EASE IOS SB ERG] SSO AOI TI AE SP oR 5 POE SP OES UO, SH PI ga as

ROO ae a ‘a ea os
a
Case: 2:17-mc-00023-ALM-KAJ Doc #: 1 Filed: 05/01/17 Page: 8 of 16 PAGEID #: 8

ee ee ere ee er ae near a ae aa ae ala Ea ae a esa ls ine ed aa Sta aa el da a ae oe a ene wg
r f

knowledge, Culture, Customs and Beliefs; being actual, correct, not misleading, etc.; and being the Truth, the
whole Truth, and nothing but the Truth.

Féibu (Love), Heagg (Truth), Salaam (Peace), Féurryatun (Freedom), Adl (Justice),
(il Rights Reserved Without Prejudice; U.C.C. 1-207 / 308, U.C.C. 1-103.

J Am: in Bry nell €L. Kean - : Ah

Mataral Person - Ia Propria Persona + Authorized Representative: All Rights Reserved Free Moor / Muur, Morthwest @mexem / Aorthwest Gfrica / Morth dimerica

PE AT ANA a NR Ee RT

(Mboriginal / Indigenous, free Sovereign Moor - Natural Person of the Land; ‘In Propria Persona’ (Not Pro Se
® Nor Colorable)

JSC, RE TRUE URLS ATL,

a The Aboriginal and Indigenous Natural Peoples and True Inheritors of the Lands (Territories) - North America, Central America, South #
, America, and the Adjoining Islands Al Moroc/ Ameru / Americana) ‘
: County of Franhiuit )
; ) ss: :
a State of hd ) a
, . 2
i By Special Appearance, before me on Day Wy oof , 2017, in Honor, the §
; Divine Being, Kevin Brian Gunnell El, Affirms that He is the Natural Person / Divine Being herein named, :

» existing in His own Proper Person; meeting the ‘law of evidence’ as required and defined in ‘Identity’; affirmed
¢ by Lawful, Substantive Right; by Birthright; and respectively acknowledged - being lawfully qualified and ;
i competent to execute this Document of Judicial \otice and Proclamation of J ationality and affirming that the t
® above stated facts are true to the best of his knowledge. I therefore place my hand and seal thereto. !

     
  

   
  

"
Soe,
5 SS ;
: :
* Signatune By: 7¥ NM , Notary Public 536
5 Vizier { Min =
, 7
f
a

 

wines Deed loool bru fe loved pte

Print Name? .#atural Person - In Propria Persona - All Rights Reserved. Sign Name: Watnral Person - In Propria Perseff - All Rights Reserved.

Aboriginal and Indigenous Peoples’ Documents: Northwest Amexem / Northwest Africa / North America / The Moroccan Empire - Continental United States.

 

TARE aa A ee ate ae TT ee ae ee ee ee a ee ey

  

+ .
TE RR UREA SE”
Case: 2:17-mc-00023-ALM-KAJ Doc #: 1 Filed: 05/01/17 Page: 9 of 16 PAGEID #: 9

3s dyad, a ea aya as as os aaa el a) Tear oriatiantannns Bodo
TRAPS EAE SE SAE IR SCH AEA Se tl ah ah tad a ad toca al Sk od oD Sd

 
  
    
   
    
 
   
  
   
 
 
 
 
 
 
 
 
 
 
 
 
    

oe)

;
0 Fd

Kevin Brian Gunnell FEM
C/o 2928 Sunbury Court North
Columbus, Ohio state, near [43219]

Zip exempt/ Nonresident’ Non-Domestic’ Republic;
Without the LLS. by order of lex domiciht
(Al Moroc/ Amexen/ Washitaw ‘Territory & Empire)

* PUBLIC NOTICE °
FREE MUURISH’ MOORISH AMERICAN NATIONAL: ALLODIAL STATUS-
ABORIGINAL INDIGENOUS NATURAL PEOPLES
THE UNITED STATES OF AMERICA REPUBLIC-
NORTHWEST AMEXEM/ NORTH AMERICA-
THE ZODIAC CONSTITUTION; ARTICLES Ih Ie IV; ETAL

AFFIDAVIT OF ALLODIAL PERMIT
POLITICAL STATUS:

Bh
|

e

 

 

 

 

 

 

 

 

 

Classified Truth A-! [rechoild by Igherttance [Diplomatic Jmmunity Registration No. AA222 +1

 

| awful/ { egal Notice of Preservation of (Jnalienable Rights and (Constitutional Secured |mmunities:
T his af awhul/| egal Notice” is hereby presented as an adequate point in Law to [nform and to give Public
Notice to All Comers ~ Foreign, Private and Public, including Al Elected and non-elected Public Officials,
ete, that i, evin Porian Gunnell form ama man Aboriginal/ Indigene to the Land anciently known as ya
A\usar, Egypt of the West, Al Morac, Mahgrib Al Axgsa; the Most xtreme West of the
Muurish/Moorish Al Moroccan Empire, Northwest Amexem/ North America. |n the Full Deifie [ ife of
Noble | Drew Ali, who was/is the Allodial T itle holder to the lands of Northeast and Southwest Africa,
across the Cyreat A\dantis, to the present day North, Central and South A\merica, Mexico and the
Adjoining Islands; ie. the Atlantis (Atlantic) |slands, this [state in Allodium was issued to his successors in
Pee Simple Absolute, the Fis, Beys. Deys, Als, and Allis, we as the true true heirs being “Natural Persons”
(and not a i4e Amendment Corporate Person{ (s), Actficial Entity(ties), Nom de (Guerre, ner Straw-
men/straw-women, as written in all CAFIAL LFTTERS) With full respect, honors and homage given
to the works of Moorish elders such as CM. Bey (whose works are acknowledged as truth by Congress
and the (J.5. Department of Justice; et ab, [-mpress Verdiacee "J iara" Washitaw- J umer Geston EL
Bey (whose works are acknowledged as truth by the (Jnited Nations; e¢ af, Taj Tarik Bey (A Moorish

 

 
Cad
rier) ies

ca

SSAA DADRA RaRARPADAR.#H

ne

Cla) | ee) ae) ae) | ae | ae | ae) | Se) | a

rina

ee
>
Pe) ES) eS

FAC Sa ea ar ea

bah hae at ae ts hat at oe

rg: air
Ca

Sara
. +
Ct ae!

CS Sir) aa Card

+
a dt ee a) oe a dit bP ait pe

CS ir | Ce on
‘ na

Ot) a ae ee) | Se

OD er ae

aN

Case: 2:17-mc-00023-ALM-KAJ Doc #: 1 Filed: 05/01/17 Page: 10 of 16 PAGEID #: 10

 

 

 

 

 

 

 

 

 

 

 

 

 

RARER ARBRE ROR RN ROBES aa aer ae Ronen nnn nn ne RRA IRA RE enana Ds
Adept, Historian and | aw Master), F lihu Pleasant Prey (A writer who is one of the last surviving | Iders of aK
the Moorish Adept Chamber} and the works of others who propagated this truth as given by Noble | Drew me
All, and with this Affidavit of Allodial Permit | do declare and say: All ( Jnalienable Rizhts; all Substantive Ke
Rights, all Birthrights; all Constitutional Secured Rights; all Human Rights; and all |nternational | aw - <o
secured Righ ts are preserved and secured by the Supreme Law of the | and, and by I reaties (in force) KE
between [The (Jnited States Republic of North America / Morocco, (Mahgrib Al Agsa; the most Be
[extreme West) Northwest Amexem/ North A\merica, etc. All other Divine, {(Jnalienable, and Substantive xe
Rights, known and unknown, are Preserved; Reserved; Not Waived; Not transferred to any other, and are eS
acknowledged as being in farce; and Not abandoned, nor ever intended to be abandoned; Any oS
contemporary, misrepresented claims made by Any Person, Personnel, or foreign Corporate Entity, to the X ~
contrary, notwithstanding! %e

|n harmony with my Ancient Fore-bearer’s Aboriginal Customs, in Conmuni with other Muurish/ os
Moorish Nationals, in universal truth, in reason, and in accord with ‘The Established Law of the Land; refer eX
to the Declaration on the Rights of Indigenous Peoples; E/Cn. 4/Sub.2/1994/2/ Add. 1 (1994). See %
Articles 1 and 2 with all Sections and Declaration on the Rights of Indigenous Peoples (2007); ( |nited <a
Nations Resolution 61 -295 in toto: [ nforced by Federal Constitution Law and by International Law. Sec >

co

Article | of The (Jnited States af America Republic Constitution, and Executive Order 13107, “JT he
|mplementation of Human Rights | reaties”, etc, to which the Senators, the Kepresentatives, the Members
of the several State Legislatures, and All [xecutive and Judicial Officers, bath of the (Jnited States and
of the several States, shall be bound by Oath or Affirmation, to support this (_Lonstitution. Ary laws of
Any state, to the contrary, notwithstanding. (Jnited States Supreme Court “State courts, like federal
courts, have a “constitutional obligation? te safeguard personal liberties and to uphold federal law." Stone v.
Powell 428 (15 465, 96 S. Ct. 3037, +9 |. Fd. 2d 1067. (Jnited States Supreme Court: “The
obligation of state courts to give full effect te federal law is the same as that of federal courts.” New York v.

no. 155 69,15 5.C+.30,39] Fd. 60. { Inited States Supreme Court: “An administrative agency
May Net finally decide the limits of its statutory powers; this is a judicial function.” Social Security Pooard v.
Nicrotko. 327 (15358, 66S. Ct 637, 162 Al R 1445, 90]. Ed. 719.

LAM: True Alledial Heir Claimant: rrr SIMPLE ABSOLUTE -FEF SIMPLE ASSOLUTE -Prr SIMPEF ANSSOLUTE
Aboriginal and Jndigenans Feaples* Doaiments for Northwest Amoucn/ Northwest Africa / Narth America / The Moroccan Lompire - Cantinentel [fitted States,

hae)

5

ie) ee | ee ee

SB ee | eee | cae | ae) ae oe ee ee

2 nS Co >
DIDODS DODO DO DODD DS DOS Cobo SOIpnba pains

i

] stand on this Affidavit of Allodial Permit to be made “without prejudice,” “without recourse,” “as

.

ar

good as aval’ and executed “without the (United States of America. | affirm and solemnly declare on

r
¥
nm

My inherent Nobility, My private unlimited commercial asset creditAiability and under penalty of pejury
under the laws of the republic union states of Axmenica, (Al Moroc/ Axmexem/ Washitaw ‘Territory &
Empire), that the foregoing is true, correct, complete and certain to the best of my informed knowledge

    
 
 

IDOOIDO

 

(ae aes
ce

SS
Case: 2:17-mc-00023-ALM-KAJ Doc #: 1 Filed: 05/01/17 Page: 11 of 16 PAGEID #: 11

 

   

 

 

 
    
  

 

 

 

         
  
     
   

     

 

 

 

0 ‘ H 5 : 7 ie) es ES 4 - ce!
AAA Naot ache ae aon cuandet cara Lar icae CanaceayPaa ay eat Gee GaGa aS Cece ae eee ea
a =K
xe and further claimant saith not. } now affix my autograph and official seal to the above Affidavit of =X
Ce Alllodial Permit. x=
CA de! —
ay ANS my word is my bond, =
=) Duly tendered inhonor Be
oe nee
<5 ke _ is J \ . 4 EL Ks)
‘= Kevin Pyrian Gunnell El orm = %
rt
‘= All Rights and Remedies Reserved- =
Re Uniform Commercial Code 1-103, 1-207(1-308) a
re a  e,
a Ke
a5 5
C7 .
oe Witness: io
Oe Soins x, Sie? / ws had, . =e
, = Print Name: Natural Persan - In Propria Persona - Alf Rights Reserved. Sign Name: Nabural fF’ Rights Reserved. Deuteronemg 19:15-21; Public Law = Se
Ve 97-280, 96 Stat 12.11, Senate Joint Resolution 165 and Pradamation £100. ne
Cf ie “wt
ey
- % Wits ESS; LD d. {j ‘ -
<a Dienda_ i LOO dtl kK. £ 4. Fouche rey
A Print Name: Natural Perasn -|n Propria Ferona - All Rights Resened. Sign Name: Natural Person - Jn Propria Persona - All Rights Reserved. Deuteronamy 1afg2., Public aw ke
MS 97-280, 96 Stak 1211, Senate Joint Resobstion 165 and Proctamation 6100. =
Ne =
res — re
= County of Loy CW a) K>
ts ie? A ie
ee ) ss: S«
= State of Oh it> ) =
4 7
ae, w*
oA ae
ew a
aA & (es
< On this if 4 “ day of AyQA { : AD. bi >| + year, before me, a Ke
. % Notary Public of the State of Ohio, came a man personally known by me (or who proved to me on the basis <=
= oof satisfactory evidence) to be the man whose signature is subscribed hereon. The said man solemnly <<
fy) wwe
S29) affirmed under oath, that he has firsthand knowledge of the facts contained herein this « Affidavit of Alledial BC
Cf wt
. . . . 3
‘ - f ermit” and that they are true, correct and complete to the best of his knowledge, understapdiy aed belief. x
7 a x “NOr. ie es)
ee = 4 we
A - a VE
~~, Signature By: si ‘ et pi x=
1 y
“a Notary Act of isso vo
2% Ke
a a o
Cf 3}

Up ea a eS RS a a el ee al Se a en a Sl a Pe Os DP OS By Pe Fp Fe oo he, bs
(ae A AAR CAR al OALCOAL (Oho RL ORL en ORO OAR ROMEO CRD ORD CO CORR CD ONC Ch ew cl :

a

od

ce ee
Case: 2:17-mc-00023-ALM-KAJ Doc #: 1 Filed: 05/01/17 Page: 12 of 16 PAGEID #: 12

Ohio Secretary of State
Central Ohio: (614) 466-3910
Toll Free: 1-877-SOS-FILE (1-877-767-3453)

09/12/2012

 

KEVIN BRIAN GUNNELL
2928 SUNBURY CT
COLUMBUS, GH 43218

ae OVER THE "7 too COUNTER : * vi res

 

 

Financing Statement Number: OH00161096702

Miscellaneous Number. 0
Filing Date: 09/07/2012
Document Number: 201225400191
Order Number: 1303616013
Batch Number: 80704193
Debtor Name: KEVIN BRIAN GUNNELL

  

cre pea eaT eis

ait mk
: disuecsay boul

 

Please validate your filing on our Web site at WWW.STATE.OH.US/SOS.
Case: 2:17-mc-00023-ALM-KAJ Doc #: 1 Filed: 05/01/17 Page: 13 of 16 PAGEID #: 13

Archetype
Form: publici sui juris / Affidavit
Session: one Supreme Court
Act of State

Reaffirmation of Character
And Renunciation of Attempted Expatriations

I, Kevin Brian Gunnell, by International Common Law Registration, being of the age of majority, complete
in my faculties, a natural born Divine creation, and a Private, Sentient, Sovereign within the constitutional
Public survey boundaries within Ohio, a Republic, of the constitutional Township, Columbus, within the
body of a constitutional county, Franklin, the proper jurisdiction of a Common Law thereto, do sofemnty
make this Reaffirmation of Character, pursuant to my absolute freedom of religion, of an Ambassador and
Subject-Citizen of the Kingdom of Heaven under its King, Jesus the Christ; and an American Sovereign
Citizen-Principal in good standing and Behavior, Public Minister (Ambassador), and “dominium” (absolute
owner) inhabitant of the organic United States (“a more perfect union”) under the Constitution for the
united States of America (1791 to date) as ordained and established, with reservation of ail Divinely
created and inherent unalienable Rights/Privileges. It is, at the same time that I renounce and declare
void, ab initio, any and all attempts (De Facto / Renegade / Corporate) by means of fictions or otherwise,
of any changes in my lawful Citizenship Status to that of a Corporate Statutory / Military / Maritime /

1 Admiralty /_ Fictitious U.S.: “person”, “consumer”, “individual”, “citizen”, “citizen-subject”’,
*plaintiff/defendant”, “resident”, “whoever”, “taxpayer”, “driver”, “gun/firearm owner”, “DEBTOR”, et al,
subject to the seizure of Alien Properties by the hypothecated,

|

|

f

| Corporate/Legislative/Military/Admiralty/Fictitious Democracy UNITED STATES, et al. Such corporations,
{ fraudulent and non-existent in the Law, include, but are not limited to, the UNITED STATES, U.S., US,
i STATE OF OJ10, COUNTY OF FRANKLIN, CITY OF COLUMBUS, KEVIN BRIAN GUNNELL, KEVIN B GUNNELL,
4 K BRIAN GUNNELL, KEVIN GUNNELL, or any variation thereof, 295-70-XXXX, etc. This doctrine of “Piercing
the Corporate Veil", with its “Instrumentality Ruie”, will serve Notice, (judicial, presidential or otherwise),
§ that ali acting as Corporate officers, etc., whether by color of law or color of official right, are acting or
|
i
I
I

have acted without the usual immunities afforded in lawful civil/judicial proceedings. For the peace of and |

safety of all Corporate officers, etc., as well as myself, I have identified all my guaranteed, absolute
i properties (“Life, Liberty, and the Pursuit of Happiness”),untit such times as the present De Facto /
= Renegade / Corporate government can make the necessary changes to its structure to insure the same.

4 These identifications wil! list the International Record (Seal) Number (Apostille Number), as has been §

recognized, received, recorded, and issued by the De Facto / Renegade / Corporate government. As this

number is the International registration, National authentication, and State certification of a Public |

guaranteed, properties, whether Public or Private, are and have been in Lawful possession of me. Any
i confiscation or seizure of any kind of any of the guaranteed, Private or Public properties by any of the De
# Facto/Corporate officers, etc. will result in damages of Ten Million Dollars of United States Treaty States,
# nation-state specie Money (United States Dollars silver) that being enumerated in Article I, Section 10,
i Clause 1 as *gold and silver coin” in the Constitution for the united States of America (1791 to date) to be
| multiplied by not only the damaging party(ies), but all those in concert and cause of action. This
# Declaration is made absolute by the enclosed Apostille (the State of Ohio), copy and pursuant to 15 Stat.
# Ch. 249 pg. 223 (1868), shall be made final, adopted, and accepted by the Doctrines of Estoppel (by
, acquiescence), Law of the Record, (Apostille), Moral Obligation (peremptory mandamus), and the Divine
y Law (380 U.S. 163; The Bibie is law to be applied nationally}; or upon the passing of a customary and
| reasonable time of ten (10) consecutive calendar days from receipt of the service guaranteed U.S. Mail
(Certified) or otherwise. It will be the President’s absolute ministerial duty to identify, restore, and correct
# any and ail errors, injuries, wrongs, and damages at any time applied and/or attached to Me pursuant to
4 Congressional demand within 15 Stat. Ch 249. Dates: spiritual “In the Beginning” plus Six days:
| Announcement of Diplomatic Arrival: APRIL 4, 1969.
I
:
|

i
|
|
Document of the United States of America, my Nations, and my Citizenships, as well as identification of all

ke 2 BJs. =—SZ /2-1-]¥

 

 

~~ Me, American, Private, Christian, Sentient; Date
1 overeign; Divine Inhabitant within North America; within Ohio, a Republic;
i i ! \“within’ a constitutional county and a constitutional township republic. — / 2~ /{ /
: } “ . lat the mouths of two, or at the nom 15:85 Y orf nee Crean ad 7 Y
: | Deuteronomy 19:25 :
| \ (Vy j J-i-) Or
H Divine; ventlent, and Cofimon Law —— Date Divine, Sentient, and Common Law Witness Dat XZ7Ce

— =

 
Case: 2:17-mc-00023-ALM-KAJ Doc #: 1 Filed: 05/01/17 Page: 14 of 16 PAGEID #: 14

Archetype
Form: publici sui juris / Affidavit
Session: one Supreme Court

Act of State
Primary Signature Certification
(Convention de La Haye du 5 October 1961)
TIAS 10072, 33 UST 883, 527 UNTS 189. (Convention # 12)

ij

ee Kevin 2. Gunnell) , do hereby certify the Sentient signature on the
gq Archetype document enclosed to be a true, correct, complete and not misleading originaf, containing the
primary signature as sealed below. This notarization is for the purpose of signature (autograph) ff
certification only, for foreign use (i.e., United States of America) of the U.S. originated document. This is }
pursuant to the Hague Conference on Private International Law dated October 5th, 1961, at the Convention
Abolishing the Requirement of Legislation for Foreign Public Documents. It was on 15 October, 1981 in
which the United States declared as being a signatory to this Convention, and this procedure is required for §
the legalization of administrative/judicial documents as herein enclosed.

 

The State of Ohio Acknowledged before me the ist day of becembe 2014 A.D.
The County of Franklin OY
Ki. I De 4 Maupe Mera

Sentient Citizen; Autograph Notary Signature

 

Apostille Number:

(applied manually upon issuance)

 

Reaffirmation of Character and Renunciation of Attempted Expatriation / Act of State

ES

:

i

a

Fae

i

fi

a

eee eee ene

2 a ee a ET

ers

Se el

a
Case: 2:17-mc-00023-ALM-KAJ Doc #: 1 Filed: 05/01/17 Page: 15 of 16 PAGEID #: 15

ACKNOWLEDGMENT

Grant of Exclusive Power Of Attorney to Conduct All Tax, Business and Legal Affairs of Grantor

POWER OF ATTORNEY

1} i, KEVIN BRIAN GUNNELL, DEBTOR and GRANTOR, at, 2928 SUNBURY CT COLUMBUS, CHIO 43215 do
hereby appoint, Kevin Brian Gunnell, Secured Party Creditor, and Grantee, and attorney in fact, c/o2928 Sunbury ct
Columbus Ohio, Republic; near [43219], Non-Domestic without the US, as my Private attorney in fact, io take
exclusive charge of, manage, and conduct al! of my tax, business and legal affairs, settle debts, make purchases,
éte., and for such purpose to act for me in my name and place, without limitation on the powers necessary to carry
out this exclusive Power of Aitorney in fact es authorized:

(A} To take possession of, hoid, and manage my real estate and ali other property:
(B} To receive money or property paid or delivered toe me from any source;

(C} To deposit funds inte, make withdrawais from, or sign checks or drafts against any account standing in my
name individually or jointly in any bank or other depository, to cash coupons, bonds, or certificates of deposits
to endorse cheeks, notes or other documents in my name; to have access tc, and te piace items in or remove
them fram, any safety deposit box standing in my name individually, and otherwise to conduct bank transactions
or business for me in my name;

{D} To pay my just debts and expenses, including reasonable expenses incurred by my attorney in fact, Kevin Brian
Gunnell, in exercising this exclusive power of attoamey;

{E} To retain any investments, invest, and te invest in stacks, bonds or other securities, or in real estate or other
property,

{(F) To give genera! and speciai proxies cr exercise rights of conversion or rights with respect to shares or
securities, te deposi shares or securities with, or transfer them fo protective committees or similar bodies, ta
join in any reorganization and pay assessments or subscriptions called for in connection with shares or
securities:

{G} To sell, exchange, iease, give options, and make contracts conceming real estate or other property for such
considerations and on such terms as my attorney in faci, Kevir Brian Gunnell may consider prudent,

{i} Te improve or develop reai estate, to construct, alter, or repair building structures and appurtenances or real
estate, fo settle boundary lines, easements, and other nights with respect to real esiate; to plant, cultivate,
harvest, and sell or otherwise dispose of crops and timber, and do all things necessary cr appropriate to good
husbandry;

(To provide fer the use, maintenance, repair, security, or storage of my tangibie property.

{J} To purchase and maintain such policies of insurance against liability, fire, casualty, or other risks as my attorney
in fact, Kevin Brian Gunnell, may consider prudent.

2) The Secured Party Crediter, Kevin Brian Gunnell, named herein and on the Form UCC-i recorded with the
SECRETARY OF STATE of WASHINGTON, is authorized by law to act for and in controi of the DEBTOR, KEVIN
BRIAN GUNNELL KEVIN B GUNNELL, KEVIN GUNNELL, or any derivative thereof. In addition, Kevin Brian Gunnell
has the exclusive power of attorney to contract for ai! business and legal affairs of KEVIN BRIAN GUNNELL 295-70.

XARKX, DEBTOR.

3} The term “exclusive” shall be canstrued ta mean that while this power of attorney is in force, only my attorney in
fact may obligate me in these matters, and ! forfeit the capacity to obligate myself with regard to same. This grant of
Exclusive Power is Imevocable during the lifetime of Kevin Brian Gunnell.
Case: 2:17-mc-00023-ALM-KAJ Doc #: 1 Filed: 05/01/17 Page: 16 of 16 PAGEID #: 16

}
Executed and seated by the voluntary act of my own hand, this 7 day of S Ep té tabak ¥__, .2012

This instrument was prepared by Kevin Brian Gunnell,

 

 

Acceptance:
I 4
op fw Af
= V L LS: Ken ks. ot be L
KEVIN BRIAN GUNNELL, GRANTOR Kevin Brian Gunnell, Grantee
t, the above named exclusive attomey in fact, de
accept the responsibilty for the herein-named
DEBTOR-Granter and will execute the herein
granted Power of Attorney with Que Diligence.
ACKNOWLEDGEMENT OF NOTARY
State of VAS © )
— } ss.
County of  Temamic iw )

On the + day of Septem, twe thousend-, twelve, before me, “Deve Aw ii. v 4 yew a
Notary, perscnally appeared Kevin Brian Gunnell, known to me (or proved te me on the basis of satisfactory
evidence of identification) to be the living man whase name is subscribed upon this instrument and acknowledged ta
me that he will execute the same in his authorized capacity, and by his signature on this insirument, Kevin Bran
Gunnei will execute on behalf of the GRANTOR.

Witnessed by my hand and official seal,
A. L. A, NOTARY SEAL
ae

TR Be, ep
a
+ DEREK HERBRUCK
¢ 2Notary Public, State of Ohio
i My Commission Expires
é February 08, 2018

My Commission Expires: quia { POW,

   
